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                                    IN THE UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF ARKANSAS
                                              WESTERNDMSION
UNITED STATES OF AMERICA                                                              Judge: James M. Moody Jr.
Counsel: Mike Gordon                                                                  Reporter: Judy Ammons
                                                                                      CRD: Kacie Glenn
v.                                            CASE NO. 4:17-cr-00319-02 JM            Date: April 24, 2019


NATHANIEL BURROUGHS
Counsel: Stephen Davis

                           MINUTES- FELONY WAIVER & PLEA TO INFORMATION

BEGIN: 2:30 P.M.

_x_Court convenes for hearing;
     X   Defendant present with counsel; defendant sworn;

     X   Court inquires of defendant regarding understanding of proceedings;

     X   Court inquires of counsel regarding defendant's competency to proceed;

     X   Court inquires of defendant regarding understanding of right to be indicted by a Grand Jury;

     X    Defendant waives right to indictment, which the Court finds is voluntary;

     X    Defendant signs Waiver oflndictrnent in open court;

     X   Waiver oflndictrnent Filed;          X   Information filed;   X    AUSA reads Information in open court;

     X   Court inquires of defendant regarding understanding of consequences of entering guilty plea;

     X   Plea Agreement filed in open court;

     X   Government states proof for trial;

     X   Defendant pleads guilty to Count(s) L of Information; plea accepted by the Court;

     X   Indictment dismissed on the motion of the government;

     X   Sentencing date to be set upon completion of presentence report;


--~Defendant released on 0/R bond;

_ _Defendant to remain on current conditions of bond pending sentencing;

_X_Defendant remanded to custody of U.S. Marshal pending sentencing.

_ _Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

END:      2:50 P.M.
